         Case 1:09-cv-00500-RJA-HKS Document 8 Filed 08/27/09 Page 1 of 4




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



ROBERT A. WEIG,

                           Plaintiff,                    09-CV-500A (Sr)
v.
                                                         CASE MANAGEMENT ORDER
GC SERVICES LIMITED PARTNERSHIP,

                           Defendant.




              Pursuant to the Order of the Hon. Richard J. Arcara referring this case to

the undersigned for pretrial procedures and the entry of a scheduling order as provided

in Rule 16(b) of the Federal Rules of Civil Procedure and Rule 16.1(a) and Proposed

Rule 16.2 of the Local Rules of Civil Procedure for the Western District of New York, it

is ORDERED that:



              1.    In accordance with Section 2.1A of the Plan for Alternative Dispute

Resolution,1 this case has been referred to mediation.



              2.    Motions to opt out of ADR shall be filed no later than September 4,

2009 .




         1
        A copy of the ADR Plan, a list of ADR Neutrals, and related forms and
documents can be found at http://www.nywd.uscourts.gov or obtained from the Clerk’s
Office.
        Case 1:09-cv-00500-RJA-HKS Document 8 Filed 08/27/09 Page 2 of 4




              3.     Compliance with the mandatory requirements found in Rule

26(a)(1) of the Federal Rules of Civil Procedure will be accomplished no later than

September 18, 2009.



              4.     The parties shall confer and select a Mediator, confirm the

Mediator’s availability, ensure that the Mediator does not have a conflict with any of the

parties in the case, identify a date and time for the initial mediation session, and file a

stipulation confirming their selection on the form provided by the Court no later than

September 18, 2009.



              5.     All motions to join other parties and to amend the pleadings shall

be filed no later than October 2, 2009.



              6.     The initial mediation session shall be held no later than

October 30, 2009.



              7.     All fact depositions shall be completed no later than January 29,

2010.



              8.     Plaintiff shall identify any expert witnesses who may be used at trial

and provide reports pursuant to Fed. R. Civ. P. 26(a)(2)(B) no later than February 26,

2010 . Defendant shall identify any expert witnesses who may be used at trial and

provide reports pursuant to Fed. R. Civ. P. 26(a)(2)(B) no later than March 26, 2010.


                                              2
        Case 1:09-cv-00500-RJA-HKS Document 8 Filed 08/27/09 Page 3 of 4




              9.     All expert depositions shall be completed no later than May 28,

2010.



              10.    All applications to resolve discovery disputes shall be filed no later

than 30 days before the discovery completion date. In the event of a bonafide

discovery dispute that cannot be resolved by counsels’ good faith efforts (see generally

Local Rule 37), the parties shall submit, by joint letter, signed by all counsel, a

statement of the issue(s) to be resolved by the Court. Each party, within five business

days thereafter, shall submit by letter a statement of facts and law it wishes the Court to

consider. The Court reserves the right to request full briefing by the parties, in which

case the Court will so advise the parties.



              11.    All discovery in this case shall be completed no later than May 28,

2010.



              12.    Dispositive motions shall be filed by all parties no later than

June 30, 2010. See generally Local Rule 7.1(c); 56. Such motions shall be made

returnable before the Magistrate Judge.



              13.    Mediation session may continue, in accordance with Section 5.11

of the ADR Plan, until July 30, 2010. The continuation of mediation sessions shall not



                                              3
       Case 1:09-cv-00500-RJA-HKS Document 8 Filed 08/27/09 Page 4 of 4




delay or defer other dates set forth in this Case Management Order.



              14.    Modification or extension of the dates set forth in this Case

Management Order are strongly discouraged. Extensions will only be considered for

meritorious reasons.



              15.    Sanctions: Counsel’s attention is directed to Fed.R.Civ.P. 16(f)

calling for sanctions in the event of failure to comply with any direction of this Court.



              SO ORDERED.



DATED:        Buffalo, New York
              August 27, 2009


                                           S/ H. Kenneth Schroeder, Jr.
                                           H. KENNETH SCHROEDER, JR.
                                           United States Magistrate Judge




                                              4
